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             PSJ14 Janssen Opp Exh 64 – JAN-MS-02960654
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                                          Controlled Substances Suspicious Order Monitoring (SOM) Program
                                                                                   Questionnaire
                  Section VI-C: Suspicious Order Monitoring Program - Flagged Orders
  i                      I when vou encounter suspicious                                                                    ---·------- ·----·--·-----·- ---·--······-------·
  !                      I           order(s] how do you review, clear,                            We contact the customer regarning the order, than make a
                  ', l   i           escalate, or report them? Do you have                        decision if to clear, Special reviews are P<;ed for higher abused
                         I           special reviews for the higher abused                                       drugs. but we review ;ifl scheduled drugs
                                     drugs or co al! scheduled drugs see the
                                     ~ame scrutiny?                                              ____        ,              ,   ...   _
                  52                 Who has the authority to clear an order
                                                                                                                         Compliance Mgr or President
                                     of suspicion?
                                                             -·-·-··-·---------1,----
                                                                                         1



                         i           Are records maintained .:o document all
                                                                                                  YES             X                   NO                n
                  53     I
                         I investigations? How                   r!2 they
                         I                               •                                       Maintained in the customer's ffle.
                         j maintained and fiied?
      I
      ~··-                                                                                                        ----~ -             ·-----
                                     If an order 1s flagged. what is the
                                     average invasrigat ion time? Do you
      !           54
                                     contact the   customer      to   understand
                                                                                                 Sarne dav or next day, depending in whef! order was placed Yes,                                     1·




      L
                                                                                                                    •.ve contact lhP. customer
                                     the order size to deternune if there is a
                                     reason)
                                                                                                                                                            fl          .            ----~
                             I       uo   your SOM investigators visit your
                                                                                                                                                                                                     I
                  St;        I customers? If so. what is the ratio of                                                                                   sometimes                                    I
                                     on-site visits by' investigator to phone
                                                                                                                                                         , .iure if
          I                  I       rails?                                                         YES            x[J     NO          warranted.                                                    I
                                                                                                                 ----"=----·---"--.. ·-·~. -·-·-----                                  ---·· ·--·----!
          i _                        Do repeated flagged orders from one             --------
                   St>
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                                     . .. customer
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                                                   warran l an on-site
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                             \ visit by your compliance group?
                                     Who.{t.. ltle ana_· position)    re_?o_rt;~;;··----- --------
                                                                                                     YES              xD --···-·-~:.                     !_:]         , __ , __ --               J
                                                              .                                                         Compliance Mgr. and President
          ir--·-i-----·-·--~ ------ --------------- - -------. ·- - --·-- -
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                   58
                                     susproous orders tu the DtA)

                                     How are the orders reported
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          I ,                    1--
                                     (etectronlcallv. via telephone, etc}?
                                                             .          --·-·------------·-···----·-··-------
                                                                                                                                           Electronically


                                 1 is the suspicious order filled or

                                 1
                                     suspended?                                                     Fllled            xC]             Suspended             ~:L:
                                                                                                                                             Both
                                                                      ---·---.. . . ..                                                          -~------- ----
              1 60                   Does the companv reduce an order and
              I                      ship the balance?                                       I       YE_
                                                                                                       .s             xO ...,,             NO               D
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              l
              I                  j How many suspicious orders were                                                                        ---,-
                                                                                                                                              ,-                -· . --····-- . ----·

                   GJ            l_: ~~~;~:~. to    the DEA during the last 12      _J                  ,__________                               t.,                                                    ]




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                                          Oate:_+;;ii...-1-;r----
                                              MLG,CSR, RPR,CRR
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                                 Controlled Substances Suspicious Order M onitoring (SOM) Program
                                                                              Questionnaire
                  Section VI-C: Suspicious Order Monitoring Program - Flagged Orders
                                                                                   r---------             -- .
  f---lv'Jhen the;;~)rders ~-~o!v;-JOM -
                      2                                                                       We do not notify manufacturers. \Ve notifv the DE.I\ and the
  I               6       j products at what point in the process
                                                                                                                  state pharmacy boards.
                          \ wmild you notify 10M?


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  I
  i               63
                              Woulci an order ever be flagged a,                             YES          X             NO
                                                                                                                                                                               I
                                                                                                                                                                               i
                                                                                                                                                                               I
                                                                                                                                                                               I
                              suspicious if it is within threshold
  1
                              limits? If so. please exptain.
                                                                                            If it was unusually large for a daily purchase.
      i_J_. _
                  Section Vl-0: Suspicious Order Monitoring Program - Other
      '                   --         --  .                                - ----
                                                          . ----------·---~ -··· ,_.,                             _,.   -----····--· . -·-·--·---··--·   -- ----·------,

                                                                                             YES          X             NO              [J                                         I
                              Does the company have policies
                              regarding illegal drug 11,;~">
                              explain.
                                                               if   so,             ! Defined in our personnel manual
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                                                                                                                        A!J new employees
                              Does the company do random and/or                     l
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          ; 64                for cause drug screenings
                              employees?
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                              Does the company provide training to J                                                                                                               I
          : 65                employees regarding drug abuse                 \                                                                                                     ·
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                I orgaruzation                                                                                                        Yes                                              \
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              !           \   perform on-site visits?
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                  Section VII: Signature
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                         Miami-Luken DEA
                Compliance Procedures

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            S1:ctio11 3 - Customer and veude: License Veritiction

            Section 11 -- Sornpie Letters Requesting Copies of State and    o.. :,\ Ucen.,es
            Section 5 - Customer Returns Handling of Control! .d    s,   bstances

            Section 6 - Pre-Screening of C-ll Orders

            Sc~c..kJn 7- An Overview of Customer Monitoring For Potentially Fxces sive         Purchas es

            Section 8 - Tracking Controlled Drug Sales

            5£~ctlon 9 • Suspicious Order Monitoring System

            Section 10 - ARCOS Reporting Procedures - Overview

            Sectior. 11--ThiS Section ls Deleted

            Sect ion 12 - DEi\ Compliance Miscell0neo1Js

            Section   1; -· Pharmacy Customers Advisory Notice of o.r ;;., Requi'emens

            Section l4- On Site l westigation of ?harmac .' Custorner s




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                              Section 1

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    le f1 where they are accessible to other employees

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                     Cage .-ind Vault Inventories

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                     This shr:\.dd ,ncluci<:: n,gular m1d-:ncnth and month-end ;n ·eMori.-::!:. it ab·, ·nclu::i::'.'.l spPci:el
                     in -cntortes ,.,f items !Jei ,g moved into c;;ge or vault for rhe fi•st time ·..,,;h,,n rhev ercrne
                     co0tr~ H~J -tems. The na:-ne cf the persons d ,~n~; th:_1 count and r ecounr rndst b€ shewn o,, t+e
                     ,i,wQntorii,s a!s:J No1e vhether the inventory was at the opening of busin£:ss n:· do'..t? cf
                     busioe ss. Kef'p th, C·ll's on a separate listing from \he C-[H, C tV :.11" ('.\-' 'ist1ng.


                     Jl.nnual Arcos Inventory

                     Llch yr~ar, t 1e ,;11r1ua1 Arcos Inventory must be entered and sect to 0.1::.A. b•1 J11nu0r, 1st" Thi~
                     irvei1torv is reported fro1 the prysical count n .;de on 1he pnor Decembt?r 31°.; earh vear dter
                     l.he end of b J<.iness.. i'hf.! DE.A pro ides further processPs, whir:h must be fo!;owed, :or :h(~
                     Annual;.., c.os !,,v1'11tory.

                         1    Inventories :-iot id,~ntified: lf th<? Year-0nd inventory is subn itted ~vi'!.h ihe f.ln;:i! A,ti·1ity
                              repor't of th1: '{ear (O~cember repon), an ii".dicaticn rnu·t be made :..in th.:> ('ubrn•,<sicn
                              Co1~troi ;:0r1n that the inventory is also enclosed.




                         3.   l_r.1pr9g!:_D.~te~_ The Q.'.:'Jy_dat€ reporie:::J for Y"ar-end :nventorl-t!!'. is DE1'.:t!rr>b r 31:i
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         / auslnen Actlvlty: RETAIL PHJ\RMACY
         l Business Address 1: 21 S 35TH STREET. SE
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         j Stale: \/W
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     j       Sct:edu!e l'/, Schedule V
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)            The U.S. Department of Justice. Drug Enforcement Admi11istra!ion, Offic~ of Diversion Control rna\ntalns
             registranl data and Is considered the primary source or information on DEA registrants. The website
     l       nttps:Jtww.v.deadiverslon usdoj.gov is the offical lccaUon !or real time cnlir.e verifkal!cn.
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              REQUEST fOR NECESSARY INFORMATION f OR PROCESSING           CII ORDERS
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          Dear Customer.


     OL:r records indicate that we are in need of a copy of your Po ue: of Attorney for your
,tn ;Account. \/'Je need to know who is authorized to sign your Cl! orders.
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_j Please return immediately by mad or Fax (937) 743-7786 to rny attention er E~rnail
          tr12obs;r,!_y.@.rniarniluk~corn.

          Failure to respond 'Nill cause a delay in shipment of controlled substances

          Copy of your current DEA Registration Certificate (            _ L(Hequired by Code cf
          Feceral Regulations)




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      REQUEST Fon NECESSARY INFORMATION FOR PROCESSING ORDERS



    Dear Customer:


{[/t::pur records indicate that we are in need of the information below Please return
Zt&t~·irnmediate!y by mail or Fax (937) 743-7786 to my attention or e-mail:
) trn ob er! y(~ nii a C!'!.U~~b§llSO.D.J.

    Fci1!ure to respond '-Nill cause a delay in shipment of controlled substances

    Cop/ of your current DEA Registration Certificate {FE1808~_46) iReqt ired by Code of
    Federal Recutat.ons)
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      REQUEST FOR NECESSARY INFORMATION fOR PROCESSING ORDERS

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    Copy of your current Distributor DEA Registr~tion Certificate ( ) (Required by .... ode
    of Federal r~euulations)


       •   Please specify name of r111anufacturer




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     REQUEST Fon NECESSARY INFORMATION FOR PROCESSING ORDERS



   Dear Distributor:


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~~:J'irnmediately by rnail or Fax {937) 743-7786 to rny attention so orders will not be
) de!3yed

   Copy of your current State Board License Ll(Required by Code of F ederal
   Re9ulations)


      "·   Please specify name of rvi;:rnufacturer.




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 (2)       The morgue ,ire will be separated from the m.un warehouse with lirnikd access mid wil!
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           morgue cngc door \1.·i it be locked when morgue personnel arc absent.

 0)       Product." returned from customers and the disposition. The product must be in p,~rfcct
          condition before it can be returned to the saleable stock shelves This means ii must be
          clean and shows no extema] damage. The. outer safety seal must b('. intact if l)nc e:< ;st~-
          The cap should be removed, it' possible, to make sure the inner seal is sti!! in place :md
          shows no tampering. Finally, there must be more than s ix month: dating left on the
          product If all of these requirements are met then the product con be returned ! 1 the
          shelf

( ~)      Products that do not me et all of the above requirements will be moved to the murg:ue
          men where they wil] be stored in the appropriate manu (acturer box.

(5)       Refrigerated r•niducts returned from customers '.,·ill be p luccd in the morgue nl ways
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                                     Section 7


                  An Ov.erview of Customer

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         Case: 1:17-md-02804-DAP Doc #: 2391-20 Filed: 08/15/19 38 of 67. PageID #: 396219                                                                                                                                                                                                                                                                                                                                                                                                              0
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               Cnn:ro1ltc. substance poteuual ly excess orders are 1, ornrorcd more critically than non-
         controls for suspicious orders. Schedule l! blanks cir CSOS transmrucd s ·!1cciu\c !1 orders '-·\11~
         kve line~ reducco or deleted ifsuspicious. \. .fr,,1th end controlled substance usagc : -·por::; are
         studied and potentially ~~:c~sS1\'C customer purchases are reported lo DEA Sr1~,:1 fie prc1ccdun::~s
         for dciernunauon of suspicious C-ll order quantities are shown in Sccuor- 6

                  Poienriallv excessive orders of prescript ion druas, non-controlled or controlled               ~·                                                                                                             1                                                                                    .......


         substances arc reviewed by the company President, the chief pharmaceutical buyer, the chit'.f
         r inancial Officer and the Vi1..'.C President of Sale 5. Consideration is ......r~i\·c-n
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('.C.;             See S ··ction 8 of ~his m:.,1111ai for <1 dcsc1·1p:.ior< ,)f re;- 011s and procedures ll m assist in
         tn;:!k 1i1g evalu~1 ion~ of phc: rrnacies \V 1ose h1 r·tory c r contro !Jed drug. pur. bases rr.akc: the!11
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                               Section 8

                  Procedures
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           Tracking ControllecJ.
                                Drugs




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                   PROCEDURES FOR TH.A.CKlNG CONTRC LLED DRUGS




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            il i~eµorts show percentage of controlleo drugs purchased aga'nst tot al
            drugc purchased for each pharrnacv
            b. Reports show percentage of controlled drugs purchased .igJL st tot;il
            controlled drugs purchased
        3   Monlhlv reports are reviewed for    anv   exce ssve controlled drug purch sses.
            ,1   lf any excesstve controlled drug are suspected    cy    a pharn <>CY, reports
            are requested from the individual pharmacy showing the phvsicians wnting
            the prescriptions and at least the city of residence of the j::>atient receiving
            the prescription
            b. The report is reviewed to determine if any action is to be t2ken on he
            ind1v1dual pharmacy, l.e., the suspension of purchasing controlled drug$.
            c. The OE/\ and State Pbarrnacv Board are not.Iie d of the receipt of the
            pharmacy reports and will be made available if requested.
            d    After reviewing reports received from an individu1/ ph;:irrn2cy and
            addlt.onai internal reports, and a decision is made tc prohibit that
            pharmacy from purchasing controlled drugs, the pharmacv is immcdiatelv
            notified shipments of control1ed drugs are suspended or r.edvcf:'d in
            <war.t,ty
            e, The DEA  and State Pharrnacv Board are notified when <1n individual
            pharrnncv is orohfoited from pur chastng controlled drugs.
            f. Should any of the above problems occur within Warren Countv the
            Warren County Drug r<1sk Force will    b€   notified also.
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Case: 1:17-md-02804-DAP Doc #: 2391-20 Filed: 08/15/19 42 of 67. PageID #: 396223 "'                                                                   <D
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       f,/onitore1 Class-cs (see ,,l!,iche,i /1::;1) aope ars 011 this report. 1 he to!::il pilis purer ased for the
       n:irP~d item Jnd J\I equivalents of that item appaars for each customer ior ;:;ll customers. Jrnj
       tr,e per::elil of ustorners pills to ;:11! customers p11is. Th,~ totJl dciiar s purchased for ecJC;
       customer is also shown




                 This report shows lh':! s ame information as the Susp ty Cust" but sequsnced d1ff~ren~i'i
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                                    Section 9

                    Su~_picio~s O[ge_r
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                      Suspjcious O~r. MonitoriJJiL-_An Outline



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    rnonitoring customer controlled subst a ice purchases. These 2 ,2 important checks
    t -iat alert us to (us tome rs who may order only one or two pieces each dav, which
    quantities; iight fall below daily order limits, but exceed nonLly li nits.

           rv'liami-Luh?n has developed              i3   suspicious order rr.or.itoring svs en-:.,
     describec here in Sec lon 9 that looks at e ach order quantltv prior to accepting
     the order. 1t iocks    at the item ordered us part of a Medication Famiiy. T ,e
     cuantitv ordered, using all quantities for the same Medication Fr1trii!v is analvzeci
     based on month to date totals and on established month to date limits, 1he
     computer makes the rmrne diat e decision to accept or block the it en ordered

               Following arc the specific details of this "Suspicious Order Manito ing
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                                        SUSPlCIOUS ORDER MONlTORli'JG SYSTf.N

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                             Section 10

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                             Section 12

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                 MLi\},li-LUKEN, !NC                                                                                  December 27 2007
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                                                                                                                        # Pt-.'10031550
     Dear Reg;strant:
              This letter is being sent to ever; entity in H-e United States registered with !he Drug
     Enforcement Administration (DEA) to manufacture or distribute controlled substances. The purpose
     of this letter is to reiterate the responsibilities of controlled substance manufacturers and distnoutors
     to inform DEA of suspicious orders in accordance with 21 CFR 1301 7 41b).

            ln addition to, and not in lieu of. the general requirement under 21 USC 823. that
    manufacturers and distributors maintain effective controls against diversion, DE::A regulations require
    all manufacturers and distrtbutors to report suspiclous orders of controlled substances. Title 21 CFR
     13a·1 74(b), speciflcaliy requires that a registrant "design and operate a system to disclose to the
    registrant suspicious orders of controlled substances." The regulation clearly indicates that it. is tf1e
    sole responsibility of the registrant to design and operate such a system. Accordingly, DEA does not
    approve or otherwise endorse any specific system for reporting suspicious orders. Past
    communications V.'ith DEA whether implicit or explicit. that could be construed as approval of a.
    particular system for reporting suspicious orders, should no longer be taken to mean t. at DE.A.
    approves a specific system.

             The regulation also requires that t;1e registr.:1nt inform the iocal DEA Oh11sion Office of
    suspicious orders when disco11_~reg by the registrant. filtng J monthly report of cornpletec
    trans actions (a.g , "excessive purchase report" or ''high unit purchases") does not meet the regulatory
    r8q~::-o:nent !o report suspicicus orders. f~cgistrants ore ~eminded that !hair responsibuity dccs not
    end merely with the filing of a suspicious order report Registrants must conduct an independer l
    analysts of suspicious orders prior to compleling a sale to determine .vt1ether !he controlled       1


    substances are !ike\1 to be diverted from /;.,:;gitimate channels. R2pG!(ir,g an order as suspicious w,H
    not absoJ,,e the registrant of mspons1b1!ity if the registrant knew, or should hJve kr-cwn, th,,t the
    c}r tro!led substances 'Nere beirnJ Jivert;:d.

                  ihe regulation sµecificany states that suspicious orders include orcer s of Jn Ufll.JSuJl <.:,!Z':!.
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           to d"' ect susp.ctcus orders. For examp'e. a system that ide:.iifies Ciders 33 suspicious only !f lhe
           totat amount of;'! controlled substance ordered du~ing one mo'l!fl exceeds th~ amount O'dereij the
           pre·<''Ol!S rnor th by .a certain percer~t,;ige or mere is insuffic1cn _ This system fails !o denlify orders
           olaceo ty a pharmacy if the pharmacy placed unusuJl!y large orders from the b,;ginrnn_ ot its
           re!a!ionship wah the distributor Also, this system would not ir.eol1f,: order s as suspicious 11 the ;:;rder
           ,·1er ~ solely for one highly abused controued si.estance if if e orders never qrsw substar iaJJy
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           1'··h~v e d h e ie::s s.   one    hig l  ly abused control edsu o sta r ce      and
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           from the 1ormal pattern of Wh3t pharmacies gener~i!y order

                  vVhen reportlng an order as suspicious. rcgistrnnts must be clear in !heir comrnuntoat'or.s with
           OE)\ that the registrant is actually characterizing an order as suspicious Oa1!y, i,,,1.,eekly, or mcrit:nly
           reports submitted by a registrant indicating "excessive purchases" do not comolv witi1 the
           requirement to report suspicious orders, even :f !he rngistrnr t calls suer. report~ "suspicious order
           reports."

                  Lastly. r€gistrnnts that ~cutinely report suspicious orders, yet fili tr ese orders without first
           deteirnrning tl~at order is not being diverted into other than legi!irnate rned.cai. scientific, and industrial
           channels. may be failing to maintain effective controls against diversion Fdiiure to maintain e/iectlve
           controis aqainst diversion is inconsistent w;th the public interest as that term is used in 21 USC 823
           and 824, and may resuit in the revocation of lhe registrant's OEA Certificate of Regis!rntiori

(jt:'.,'        For cidditioncil 1nforrnation regarding your obligation to report suspicious orders pursuant to 21
       CFR 1301.74(b), I refer you to the recent final order issued by the Deputy Administrator, DEA in the
       matter of Southwood Pharmaceuticals Inc., 72 FR 36487 (2007). In addition to discussing the
       cbligation to report suspicious orders when discovered by the. registrant. and some criteria to use
       when detetmining whether an order is suspicious, the final order also specifically discusses your
       otJl:gation to rnainlain effective controls against :he diversion of controlled substan{:es.


                                                                                Sincerely.




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                                                      Section 14


                              On Site Investigation. of
                                  Pharmacy Customers

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                   On Site lnvestigation of _Ph._rrnacv C_ustorners




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     the customer,    shown in Sectio 1 2, M12.mi · .uken has engage 2 priv;:;te
     ir ve stigator to vi•;it all accounts that purchase rortrcll •rl substances. He \-\<Hi vievv
     the store operation    do a personal interview with each custom r. s ore owner
                             3 '1d

     or stc. e manager These visits by the investigator started in J\!);d 2015.



     Each site visit consists of.

             Approximately 45-90 min sitting in the parking iot cbse-ving anv suvpicious
             activity, customers or anything out of order
        •    Inside surveillance of the premises includes. observing the securitv and
             surveillance systems, DEA license, pharmacist's license, and state operating
             license (licenses must be        posted on wall in clear view)
        "    tnterview the staff in order to complete the evaluation form
        •    Check en the C l ls thru CVs and observe that they are stored according to
             OE.A rules and regulations.
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             Completing a site visit report form




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           I                                   inquiries wh -rher persons arc authorized h) h;inJ,e conirn!kJ subsr.u ccs :ind m:.m it<. r
                                               1'H.k::ing prucriccs to determine whether regisir~ulls are ni:1ldng excessive or unusual
                                               purch. scs. S•.;spi ·iuus orders rnust be reported to the locnl office or the I )mg
         I!                                    Enforcement ,\Jrn,ni..:tr:1ti, n.        1




        i                                      r!w following statements have been extracted from ;:i letter dated December 2, ')()()7
        I!                                     received by 1\liami-Luken, Inc. ·1 he letter from rhc US Dcpartrnent of .Iusricc, T>rug
                                               r-:11fon.'cmc11t Ad rn in] .trntinn is enclosed in its entirety for your review
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     l                                               •          Rcgjstrunts mus, conduct an independent analysis cf suspicious Cllk:·s prior , ,

     I                                                          completing a sale ro determine whether i.!H.' controlled substan ces are iikt::ly w be
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